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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  LYNN STARKEY,                                )
                                               )
         Plaintiff,                            )
                                               )
         v.                                    )
                                               ) CAUSE NO.: 1:19-cv-03153-RLY-TAB
  ROMAN CATHOLIC ARCHDIOCESE                   )
  OF INDIANAPOLIS, INC. AND                    )
  RONCALLI HIGH SCHOOL, INC.,                  )
                                               )
         Defendants.                           )

                PLAINTIFF LYNN STARKEY’S RESPONSE IN OPPOSITION
                 TO DEFENDANTS’ MOTION FOR CERTIFICATION FOR
                  INTERLOCUTORY APPEAL UNDER 28 U.S.C. § 1292(b)

         Plaintiff Lynn Starkey (“Starkey”), by counsel, files her Response in Opposition to

  Defendants the Roman Catholic Archdiocese of Indianapolis and Roncalli High School, Inc.

  (collectively, “the Archdiocese”)’s Motion for Certification for Interlocutory Appeal. Dkt. 95.

  This Court should deny the Motion to certify its Order on Defendants’ Motion for Judgment on

  the Pleadings (Dkt. 93), and decline all of the Archdiocese’s proposed questions for certification.

  The Archdiocese’s Motion fails to meet all of the requirements of 28 U.S.C. § 1292(b) and

  should be denied.

         Starkey’s lawsuit has been pending for over 15 months (since July 29, 2019). The case is

  currently set for trial to begin on February 22, 2021, which is less than four months away. Dkt.

  35. Through various motions and procedural maneuvers, the Archdiocese has sought serial

  rulings on multiple motions and has resisted and thwarted Starkey’s attempts to engage in full

  discovery. Now that the Court has denied the Archdiocese’s Motion for Judgment on the

  Pleadings on all but one of Starkey’s claims, the Archdiocese seeks permission for interlocutory
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  appeal on three grounds. Certifying any or all of the questions for interlocutory appeal would

  further prolong and delay proceedings in this case, make discovery and trial preparation more

  difficult to timely complete, and would be all but certain to postpone the trial.

            Additionally, the proposed certified questions, even if resolved in the Archdiocese’s

  favor, would not be “controlling” as they would not automatically result in judgment for the

  Archdiocese on all of Starkey’s claims. Nor are the proposed certified questions contestable, as

  the Archdiocese has not identified substantial opinions (even from other jurisdictions) supporting

  its arguments. The Archdiocese fails to meet at least three of the five requirements for

  certification under 28 U.S.C. §1292(b) and Seventh Circuit precedent. The Motion should be

  denied.

                          FACTUAL AND PROCEDURAL BACKGROUND

            Starkey was a co-Director of Guidance for Roncalli High School (“Roncalli”). Dkt. 1 at

  3. “Roncalli is an archdiocesan high school of which the Archbishop of the Archdiocese of

  Indianapolis is the sole corporate member.” Dkt. 20 at 5. The Archdiocese employed Starkey

  beginning in 1978, and provided her with employee-related benefits during her employment.

  Dkt. 1 at 2; Dkt. 20 at 5. Roncalli employed Starkey from 2009 to 2019. Dkt. 20 at 5. Defendants

  employed Starkey as a guidance counselor from 1998 to 2007, and as co-Director of Guidance

  from 2007 to 2019. Id. Starkey was employed pursuant to a written contract that was renewed on

  an annual basis for 39 years. Dkt. 1 at 4; Dkt. 20 at 7.

            Starkey is a homosexual female, and has a female spouse, to whom she has been married

  since 2015. Dkt. 20 at 8. Roncalli’s Principal, Chuck Weisenbach, and other Roncalli

  administrators, were aware of Starkey’s sexual orientation and female partner well before August

  of 2018. Dkt. 1 at 5.



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         Prior to August 2018, Starkey’s counterpart as co-Director of Guidance was Shelly

  Fitzgerald. Id. Fitzgerald is also a homosexual female and married to a female spouse. Dkt. 1 at

  5. On August 12, 2018, within two days after learning of her same-sex marriage, Roncalli placed

  Fitzgerald on paid administrative leave “and requested that she not return to the campus without

  the permission of the school administrators.” Dkt. 20 at 8-9.

         On August 14, 2018, Starkey had a conversation with Principal Weisenbach about

  sharing prepared remarks with the Administrative Council. Dkt. 1 at 6. During that conversation,

  Principal Weisenbach asked Starkey whether she had a civil union. Id. Starkey asked him

  whether he really wanted to ask her that question. Id. Principal Weisenbach said “yes.” Id.

  Starkey answered, “yes.” Id.

         On August 21, 2018, Archbishop Thompson published a letter condemning Fitzgerald’s

  marriage, sparking protests at Roncalli from students, teachers, and parents. Dkt. 1 at 6. Once

  Fitzgerald went on administrative leave, Starkey was required to assume many of Fitzgerald’s

  work responsibilities, in addition to her own, substantially adding to her workload in the Fall

  2018 semester. Id. On November 16, 2018, Starkey filed Charges of Discrimination with the

  EEOC against the Archdiocese and Roncalli. Dkt. 20 at 11-12. Starkey later amended her EEOC

  Charges on March 25, 2019, and May 9, 2019. Dkt. 20 at 3-4.

         In March 2019, Starkey learned that her contract would not be renewed for the 2019-

  2020 academic year. Dkt. 1 at 6. On May 1, 2019, Starkey received a letter from Principal

  Weisenbach officially notifying her that she would not be offered a contract for the 2019-2020

  school year. Dkt. 20 at 12. The letter stated that Starkey’s “civil union is a violation [her]

  contract and contrary to the teaching of the Catholic Church.” Id. Starkey’s contract expired on

  August 31, 2019. Id.



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          Starkey filed her Complaint on July 29, 2019, asserting claims for Title VII

  discrimination, Title VII retaliation, Title VII hostile work environment, Title IX retaliation,

  tortious interference with contract, and tortious interference with employment relationship. Dkt.

  1 at 7-12. On September 9, 2019, the Archdiocese requested a stay of this case until after the

  U.S. Supreme Court decided two cases 1 relating to the applicability of Title VII to claims for

  sexual orientation discrimination. Dkt. 12. The Court denied the stay. Dkt. 21. The Archdiocese

  answered the Complaint on September 27, 2019. Dkt. 20. On November 21, 2019, the Court

  issued a Scheduling Order, setting the case for a final pretrial conference on February 11, 2021,

  and a three day jury trial beginning on February 22, 2021. Dkt. 35.

          The Archdiocese next filed a Motion to Bifurcate Discovery, seeking to limit discovery to

  the ministerial exception affirmative defense. Dkt. 25-27. The Court denied the Motion to

  Bifurcate, and further ordered the Archdiocese to “respond to Starkey’s outstanding discovery

  requests within 14 days of this order.” Dkt. 40. The Archdiocese immediately appealed this

  Order to the District Court Judge under Rule 72(a), and moved for a stay of the Order denying

  bifurcation. Dkt. 42-45. The Court granted the stay. Dkt. 52. Starkey filed her Response in

  Opposition to Defendants’ Rule 72(a) Motion on January 6, 2020, and Defendants filed their

  Reply on January 16, 2020. Dkt. 46; Dkt. 54. At no time has either the District Judge or the

  Magistrate Judge ever ordered that discovery be bifurcated in this case, in spite of the

  Archdiocese’s repeated requests for that relief.

          On March 24, 2020, the Archdiocese filed a Motion for Judgment on the Pleadings under

  Rule 12(c). Dkt. 58. Starkey filed her Response in Opposition on April 21, 2020. Dkt. 67. The

  Archdiocese filed their Reply on May 5, 2020. Dkt. 69.


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    The two cases were ultimately consolidated and decided together. Bostock v. Clayton County, 140 S. Ct. 1731
  (U.S. 2020).

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         On March 26, 2020, the Archdiocese filed a Motion for Leave to File Initial Summary

  Judgment Motion Based on the Ministerial Exception Defense. Dkt. 60. Starkey filed her

  Response in Opposition thereto on April 7, 2020. Dkt. 65. The Court denied the Motion for

  Leave on April 21, 2020. Dkt. 66.

         On June 23, 2020, the Court issued an Order Requesting Supplemental Briefing on the

  Motion for Judgment on the Pleadings to address the U.S. Supreme Court decision in Bostock v.

  Clayton County, which held that Title VII’s prohibition of sex discrimination prohibits sexual

  orientation discrimination. Dkt. 75; Bostock, 140 S. Ct. 1731 (2020). Both parties filed

  supplemental briefs in compliance with the Court’s order. Dkt. 76; Dkt. 78. The parties filed

  additional notices of supplemental authority, and responses thereto, based on subsequent

  decisions in the U.S. Supreme Court, the Seventh Circuit Court of Appeals, and other federal

  courts. See Dkt. 79; Dkt. 82; Dkt. 87-92.

         On October 21, 2020, the Court issued its Entry on Defendants’ Motion for Judgment on

  the Pleadings, which granted the Motion in part, and denied it in part. Dkt. 93. The Court denied

  the Motion on Starkey’s Title VII claims, and her state law claims for tortious interference with

  contract and tortious interference with employment relationship. Id. at 2. The Court granted the

  Motion on Starkey’s Title IX retaliation claim, holding that Title VII preempted it. Id. at 25.

         On October 22, 2020, Starkey filed a Motion to Lift the Court’s Order Granting a Stay so

  that she could resume full discovery in the case. Dkt. 94. The Archdiocese opposed that Motion

  on November 6, 2020. Dkt. 100.

         The Archdiocese has moved to certify the following questions:

         (1) Whether Title VII’s religious exemption bars only “claims of religious
             discrimination,” Ord. 7, or whether it also bars other claims of discrimination when
             the employment decision was based on the employee’s “religious observance,”
             “practice,” or “belief.” 42 U.S.C. § 2000e(j).

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         (2) Whether the church autonomy doctrine bars an employment-discrimination suit only
             when “the employee qualifies as a minister,” Ord. 18, or whether it also bars suits
             “[w]hen a church makes a personnel decision based on religious doctrine.” Bryce v.
             Episcopal Church in the Diocese of Colo., 289 F.3d 648, 660 (10th Cir. 2002).

         (3) Whether the First Amendment right of expressive association extends to “the
             employment context.” Ord. 22.

  Dkt. 95 at 1.

                                        LEGAL STANDARD

         28 U.S.C. § 1292(b) provides, in pertinent part:

         When a district judge, in making a civil action an order not otherwise appealable under
         this section, shall be of the opinion that such order involves a controlling question of law
         as to which there is substantial ground for difference of opinion and that an immediate
         appeal from the order may materially advance the ultimate termination of the litigation,
         he shall so state in writing in such order.

         “A party moving for an interlocutory appeal bears the burden of showing that

  ‘exceptional circumstances justify a departure from the basic policy of postponing appellate

  review until after the entry of a final judgment.’” Common Cause Ind. v. Sec’y of State, No. 1:12-

  cv-01603-RLY-DML, 2013 U.S. Dist. LEXIS 205227, *2 (S.D. Ind. Nov. 7, 2013) (internal

  citations omitted). “Stated differently, the grant of an interlocutory appeal is an exception to the

  general rule that a party may only appeal a final judgment, and, as such, should be granted

  ‘sparingly and with discrimination.’” Id. (internal citation omitted). “The decision of whether to

  grant or deny an interlocutory appeal lies with the discretion of the district court.” Id. (internal

  citation omitted).

         Under Seventh Circuit precedent, “[t]here are four statutory criteria for the grant of a

  section 1292(b) petition to guide the district court: there must be a question of law, it must be

  controlling, it must be contestable, and its resolution must promise to speed up the litigation.”

  Ahrenholz v. Board of Trustees, 219 F.3d 674, 675 (7th Cir. 2000) (emphasis in original). “There

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  is also a nonstatutory requirement: the petition must be filed in the district court within a

  reasonable time after the order sought to be appealed.” Id. at 675-676 (emphasis in original)

  (internal citation omitted). “Unless all these criteria are satisfied, the district court may not and

  should not certify its order…for an immediate appeal under section 1292(b).” Id. at 676

  (emphasis in original). “To do so in such circumstances is merely to waste [the appellate court’s]

  time and delay litigation in the district court, since the proceeding in that court normally grinds

  to a halt as soon as the judge certifies an order in the case for an immediate appeal.” Id. The

  Archdiocese fails to satisfy each of these criteria, except for timeliness and questions of law.

                                            ARGUMENT

     I.      Interlocutory Review Would Delay Final Resolution of this Case.

          The Archdiocese’s Motion should be denied because an interlocutory appeal would not

  “likely materially speed up this litigation” – in fact, it would do the opposite. Valley Forge

  Renaissance, L.P. v. Greystone Servicing Corp., No. 1:09-cv-00131-TWP-MJD, 2012 U.S. Dist.

  LEXIS 82565, *23 (S.D. Ind. June 14, 2012). In Valley Forge, the Court denied a request to

  certify its summary judgment order for interlocutory appeal under § 1292(b) when a trial was set

  to begin in approximately one month (July 23, 2012). Id. The Court noted that the “median

  appeal in the Seventh Circuit…was 10.6 months.” Id. (citing Coan v. Nightingale Home

  Healthcare, Inc., 2006 U.S. Dist. LEXIS 48193, *4 (S.D. Ind. July 14, 2006)). The Court

  declined “to allow an appeal where, as here, a trial is fast-approaching.” Id.

          Starkey’s trial is scheduled for February 22-24, 2021, which is approximately four

  months away. Dkt. 35. Although the parties have not completed discovery due to the

  Archdiocese’s various procedural maneuvers, Starkey has recently moved for an order that

  would permit her to move forward with full discovery. Dkt. 94. With reasonable cooperation and



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  promptness, the parties can realistically complete discovery in a timely manner and preserve the

  current trial date. 2 This Court ordered the Archdiocese to fully respond to Plaintiff’s written

  discovery on December 19, 2019, and later stayed that order, but the requests have been

  outstanding since October 16, 2019, which has provided more than ample time for documents

  and information to be gathered.             Plaintiff has requested three depositions.              Defendant has

  requested one. An interlocutory appeal, on the other hand, would seriously jeopardize the trial

  date, because there would be almost no chance that the Seventh Circuit Court of Appeals would

  decide the appeal before Starkey’s trial date. The appeals timetable is almost certain to prolong,

  rather than speed up, the litigation.

           Relying on Sterk v. Redbox Automated Retail, LLC, the Archdiocese argues that “all that

  section 1292(b) requires…is that an immediate appeal may materially advance the ultimate

  termination of the litigation.” 672 F.3d 535, 536 (7th Cir. 2012) (emphasis in original). The

  Archdiocese claims that it meets this standard because “the certified questions…if resolved in

  the Archdiocese’s favor…would obviate the need for further proceedings in their entirety.” Dkt.

  95-1 at 25. For reasons explained in more detail below, Starkey disagrees that any of the

  proposed certified questions, if resolved in the Archdiocese’s favor, would end the case. But

  even if this were true (it is not), it ignores the fact that the trial date is currently four months

  away. The timetable for terminating the litigation through trial (four months) is undisputedly

  shorter than the timetable through resolving it on appeal (at least ten months). If the Archdiocese

  does not like the outcome at trial, it will still have the right to file an appeal after the entry of

  final judgment. Fed. R. App. Pro. 4. This would likely be filed within 30 days of the entry of


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    The Archdiocese filed a Motion for Modification of Case Management Order which requests, inter alia, that the
  Court continue the trial date until July 2021. Dkt. 101 at 4-5. Plaintiff opposes the motion and will file her response
  promptly. However, an interlocutory appeal would likely not be decided prior to July 2021, so it would not speed up
  the litigation, either way.

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  judgment. Fed. R. App. Pro. 4(a)(1)(A). Thus, denying an interlocutory appeal would delay the

  initiation of any appeal by approximately five months. On the other hand, if the Archdiocese is

  permitted to appeal now, and the case returns to the District Court at a later date, the trial would

  likely be continued for a far longer period of time. It may be more difficult to identify a new trial

  date due to the ongoing COVID-19 pandemic, which temporarily closed courthouse and resulted

  in the postponement of jury trials.

            The Archdiocese claim that its defenses “function…as an immunity from the burdens of

  discovery and trial.” Dkt. 95-1 at p. 26. However, the Court has already rejected the argument

  that the Archdiocese enjoys “a general immunity from secular laws,” and confirmed that

  “[C]hurches are not exempt from federal employment discrimination laws as applied to their

  non-ministerial employees.” Dkt. 93 at 17 (citing Our Lady of Guadalupe Sch. v. Morrissey-

  Berru, 140 S. Ct. 2049, 2060 (2020) and Demkovich v. St. Andrew the Apostle Parish, Calumet

  City, 973 F.3d 718, 723 (7th Cir. 2020)). Moreover, the Seventh Circuit has clarified that the use

  of the word “immunity” in this context does not confer immunity from discovery or trial, but is

  better understood as a “privilege or affirmative defense.” Herx v. Diocese of Ft. Wayne-South

  Bend, Inc., 772 F.3d 1085, 1091 (7th Cir. 2014). 3

            Since the trial is over four months away, an interlocutory appeal would not speed up or

  materially advance the litigation. The Court should deny the Archdiocese’s motion for this

  reason alone.

      II.      The Archdiocese’s Certified Questions Are Not Controlling Issues of Law.

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   The Archdiocese indicates that if the Court were to order “unbridled discovery” to proceed, it would immediately
  appeal under the collateral order doctrine. Dkt. 95-1 at 24-25. “The fact that current practices of discovery are
  sometimes burdensome and painful, often forcing parties to reveal facts or circumstances they would rather not, is
  no justification to allow discovery orders to be prematurely appealed[.]” Stout v. Ill. Farmers Ins. Co., 882 F. Supp.
  776, 779 (S.D. Ind. 1994). Although McCarthy v. Fuller allows interlocutory appeals of under the collateral order
  doctrine when a district court ordered “a religious question…submitted to a jury,” that case is inapplicable here. 714
  F.3d 971, 973-974 (7th Cir. 2014). Like in Herx, the “circumstances…are not comparable” because the Court has
  not indicated that it intends to decide (or submit to the jury to decide) a “religious question.” Herx, 772 F.3d at 1091.

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         “[A] controlling question of law is a threshold issue which seriously affects the way that

  the court conducts the litigation (e.g., impacting whether or not the plaintiff has a cause of action

  under a particular statute).” Stout, 882 F. Supp. at 778 (citing Johnson v. Burken, 930 F.2d 1202,

  1206 (7th Cir. 1991)). The Archdiocese claims that all of their proposed certified questions

  would be “controlling” because they claim that the entire case would be dismissed if the court’s

  opinion were to be reversed. Dkt. 95-1 at 10, 17, 21. But this is not the case. Even in the unlikely

  event that the Court’s opinion were to be reversed on appeal on one or all of the Archdiocese’s

  proposed certified questions, it would leave further questions about the application of the

  Archdiocese’s various defenses to the facts of this case, which would likely not be able to be

  resolved until after the completion of discovery. Starkey will address each of the Archdiocese’s

  proposed certified questions separately.

         A.      Title VII Statutory Exemption

         The Archdiocese’s first certified question asks whether “Title VII’s religious exemption

  bars only ‘claims of religious discrimination’…or whether it also bars other claims of

  discrimination when the employment decision was based on the employee’s ‘religious

  observance,’ ‘practice,’ or ‘belief.’” Dkt. 95 at 1 (internal citations omitted).

         As the Court recognized, Title VII’s definition of “religion” includes “all aspects of a

  religious observance and practice, as well as belief[.]” Dkt. 93 at 8 (citing 42 U.S.C. § 2000e(j)).

  The Archdiocese attempts to flip this broad definition (intended to protect employees against

  religious discrimination) on its head to argue that it can somehow be used to limit claims for

  other protected classes, such as gender. This makes no sense. If Starkey had a claim based on

  discrimination against her religious observances, practices, or beliefs, she would need to assert a

  claim for religious discrimination, which she has not done.



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            Starkey rejects the premise that the Archdiocese did not renew her contract because of

  her religious observance, practice, or belief. There is nothing in the pleadings or record to

  suggest that Starkey’s same-sex marriage (or decision to enter one) is a religious observance, a

  religious practice, or based on a religious belief. See Dkt. 1, 20. The Archdiocese’s non-renewal

  letter even refers to Starkey’s relationship as a “civil union,” reflecting its understanding that it

  was civil, rather than religious. Dkt. 20 at 12. The Archdiocese’s proposed certified question as

  to the scope of Title VII’s religious exemption would have no impact on this case at all (let alone

  be controlling), because the religious exemption would still not apply to Starkey’s Title VII

  claims.

            The Archdiocese is really arguing that Title VII’s religious exemption permits it to take

  adverse action against an employee when that employee’s secular practices or conduct violates

  (or is alleged to violate) 4 the employer’s religious beliefs. But that is not the question they have

  asked the Court to certify, and the Court should not consider it. However, even this question

  would not be “controlling,” because its applicability is limited to Title VII. It would not resolve

  Starkey’s state law claims. The Archdiocese attempts to get around this by claiming that the

  “normal course” would be for the Court to decline to exercise supplemental jurisdiction over the

  state law claims if the Title VII claims are dismissed. Dkt. 95-1 at 10. But in that scenario, the

  Court would have “broad discretion to decide whether to keep the case or relinquish

  supplemental jurisdiction over the state law claims.” RWJ Mgmt. Co. v. BP Prods. N. Am., 672

  F.3d 476, 478 (7th Cir. 2012) (emphasis added). And even if the Court decided to dismiss the


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    On October 21, 2020, a documentary was released in which Pope Francis endorsed same-sex civil unions for the
  first time, stating, “What we have to create is a civil union law. That way they are legally covered. I stood up for
  that.” See “Pope Francis declares support for same-sex civil unions for the first time as pope,”
  https://www.americamagazine.org/faith/2020/10/21/pope-francis-gay-civil-uniondocumentary           (last     visited
  November 4, 2020); “Homosexual People Have the Right to Be in a Family. Pope Francis Offers New Support for
  Same-Sex Civil Unions,” https://time.com/5902186/pope-francis-supports-same-sex-civil-unions-francesco/ (last
  visited November 4, 2020).

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  state law claims, such a dismissal would be without prejudice, and Starkey would be able to

  refile her case in state court. See Ind. Code § 34-11-8-1 (Indiana’s “journey account” statute).

         B.      Church Autonomy

         The Archdiocese’s second proposed certified question is: “[w]hether the church

  autonomy doctrine bars an employment-discrimination suit only when ‘the employee qualifies as

  a minister,’…or whether it also bars suits ‘[w]hen a church makes a personnel decision based on

  religious doctrine.’” Dkt. 95 at 1 (internal citations omitted).

         The Court has already ruled that the outcome of the Archdiocese’s church autonomy

  argument hinges on the outcome of the ministerial exception. Dkt. 93 at 17-19. Otherwise, the

  Archdiocese’s “expansive reading of the church autonomy argument would render the

  ministerial exception superfluous.” Dkt. 93 at 18. The Court is correct in its assessment. Even if

  it is not, that would not necessary end the case or result in the dismissal of Starkey’s claims.

  Even if the church autonomy doctrine permits a defense that is separate and distinct from the

  ministerial exception, it still is not one to be resolved on a motion for judgment on the pleadings

  on these facts. As the Seventh Circuit recently held in Demkovich, courts may decide cases such

  as this one “if they avoid issues of faith and stick to applying neutral, secular principles of law.”

  973 F.3d at 733. Indiana court cases presented with a defense under the church autonomy

  doctrine have recognized that “[t]he analysis in each case is fact-sensitive and claim specific,

  requiring an assessment of every issue raised in terms of doctrinal and administrative intrusion

  and entanglement.” Ind. Area Found. of the United Methodist Church, Inc. v. Snyder, 953 N.E.2d

  1174, 1178 (Ind. Ct. App. 2011) (citing Brazauskas v. Fort Wayne-South Bend Diocese, Inc., 796

  N.E.2d 286, 294 (Ind. 2003). Thus, discovery would be necessary in order to resolve this

  putative defense. Starkey is not asking this Court to decide any question of religious doctrine,



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  and has previously explained how the Court can decide this case without doing so. See Dkt. 67 at

  22-23. If the Court’s opinion is reversed, it would still need to conduct this analysis (and likely at

  a later procedural stage after discovery). A reversal of the Court’s opinion would not result in

  dismissal of the entire case, as the Archdiocese claims, and the issue is not controlling.

         C.      Freedom of Association

         The Archdiocese’s third and final proposed certified question is “[w]hether the First

  Amendment right of expressive association extends to the ‘employment context.’” Dkt. 95 at 1

  (internal citation omitted). The Court correctly noted that “the Supreme Court has explicitly

  rejected a freedom of association defense in the employment context.” Dkt. 93 at 23 (citing

  Hishon v. King, 467 U.S. 69, 78 (1984)). The Court concluded that this defense does not apply,

  as it, too would render the ministerial exception “unnecessary.” Dkt. 93 at 23.

         The Court’s ruling is not a controlling legal question. Even if the freedom of association

  defense applies in this context (it is not), the defense is not “absolute.” Roberts v. United States

  Jaycees, 468 U.S. 609, 623 (1984). Instead, the defense may be outweighed by “regulations

  adopted to serve compelling state interests, unrelated to the suppression of ideas, that cannot be

  achieved through means significantly less restrictive of associational freedoms.” Id.

         The Archdiocese claims that if the freedom of association “extends to employment…then

  Starkey’s claims are barred[.]” This wholly ignores the balancing that the Court would be

  required to conduct under a freedom of association analysis, as described in Roberts. In the

  unlikely event that the Court is reversed on this issue, then the Court would have to engage in

  that balancing. It would be premature to engage in such balancing until the parties have a full

  opportunity to complete discovery in this matter, and it would not be ripe for resolution on a

  Rule 12 motion. Thus, it is not a controlling issue of law.



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     III.      The Archdiocese’s Certified Questions are Not Contestable.

            Even if the Archdiocese can meet the other requirements for an interlocutory appeal (it

  cannot) the issues it seeks to certify for interlocutory appeal are not contestable. For an issue to

  be “contestable” under section 1292(b), the moving party must “set forth substantial conflicting

  decisions regarding the claimed controlling issue of law.” Carlson v. Brandt, No. 97-2165, 1997

  U.S. Dist. LEXIS 12821, *24 (N.D. Ill. Aug. 22, 1997). The “mere lack of judicial precedent on

  [an] issue does not establish substantial ground for difference of opinion.” In re

  Bridgestone/Firestone, Inc., 212 F. Supp. 2d 903, 909 (S.D. Ind. 2002) (internal citation

  omitted). Nor should interlocutory review be granted “merely to provide a review of difficult

  rulings in hard cases.” Id. (citing Praxair, Inc. v. Hinshaw & Culbertson, No. 97-3079, 1997

  U.S. Dist. LEXIS 16707, *6 (N.D. Ill. Oct. 14, 1997)). Instead, courts “examine ‘the strength of

  the arguments in opposition to the challenged ruling.’” Id. (citing Praxair).

            Furthermore, conflicting authorities must also be “substantial.” Hoffman v. Carefirst of

  Fort Wayne, Inc., No. 1:09-cv-251, 2010 U.S. Dist. LEXIS 107493, *6 (N.D. Ind. Oct. 6, 2010).

  When a “decision is firmly established within the bounds of distinguishable rather than divergent

  precedent in the Circuit,” there is no substantial ground for difference of opinion and

  interlocutory appeals should be denied. Latson v. Ethicon, Inc., No. 08-581, 2009 U.S. Dist.

  LEXIS 106942, *15 (N.D. Ind. Nov. 13, 2009). Starkey will again address each of the

  Archdiocese’s proposed certified questions separately.

                   A. Title VII Statutory Exemption.

            The Archdiocese has no substantial conflicting authorities that make their proposed

  certified question on the Title VII religious exemption contestable. As the Court stated in its

  Order, “the court is not aware of any cases dealing with the questions presented here.” Dkt. 93 at



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  12. Although the Archdiocese cites the same cases it relied upon in its Motion for Judgment on

  the Pleadings, the Court has already explained why many of these cases are distinguishable,

  rather than divergent, authorities. Dkt. 93 at 12-15.

          The Archdiocese cites to Kennedy v. Villa St. Catherine, Inc., in which the Defendant

  successfully sought and obtained permission to interlocutory appeal on a question involving the

  scope of Title VII’s religious exemption. No. PWG-09-3021 (WDQ), 2010 U.S. Dist. LEXIS

  145063 (D. Md. June 16, 2010). However the issue in Kennedy was very different than here. On

  appeal, the Fourth Circuit considered whether the religious exemption was limited to “hiring and

  firing decisions,” or also barred claims for “religious harassment and retaliation against religious

  organizations.” Kennedy v. St. Joseph’s Ministries, Inc., 657 F.3d 189, 191-193 (4th Cir. 2011).

  Kennedy expressly stated that the religious exemption “does not exempt religious organizations

  from Title VII’s provisions barring discrimination on the basis of race, gender, or national

  origin,” so the Court clearly did not believe this question (which the Archdiocese attempts to

  certify here) to be contestable. Id. at 192.

          The Archdiocese also claims that the Seventh Circuit has suggested “that the same Title

  VII question presented here is appropriate for certification.” Dkt. 95-1 at 12 (citing Herx v.

  Diocese of Fort Wayne-South Bend, Inc., 772 F.3d 1085, 1088 (7th Cir. 2014)). The

  Archdiocese’s reliance on Herx is misplaced. In Herx, the Diocese did not seek an interlocutory

  appeal under §1292(b), but instead attempted (unsuccessfully) to appeal the denial of summary

  judgment under the collateral order doctrine. Id. The Court dismissed the appeal, holding that the

  collateral order doctrine did not apply. Id. at 1092. The Court briefly noted that “[t]he Diocese

  did not ask the court to certify the summary-judgment order for immediate appeal…as it might

  have done.” Id. at 1088 (citing Kennedy). This does not suggest or imply that such an appeal



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  would have been accepted (or that the District Court should have certified its order), but merely

  points out that the Diocese could have followed the normal interlocutory appeal process, rather

  than attempting to circumvent it through the collateral order doctrine. It is of no guidance at all

  for purposes of determining whether such an appeal (if done properly) would have been

  accepted.

         The Archdiocese’s claim that this issue is “contestable” relies on the following cases:

  Curay-Cramer v. Ursuline Academy, 450 F.3d 130, 137-138 (3d Cir. 2006), Maguire v.

  Marquette University, 627 F. Supp. 1499, 1500 (E.D. Wisc. 1986), and EEOC v. Mississippi

  College, 626 F.2d 477 (5th Cir. 1980). These cases, when considered either individually or

  collectively, are not “substantial” conflicting decisions. The Court concluded that “Curay-

  Cramer sheds little light on the issue of whether Section 702 bars plaintiff’s Title VII claim[.]”

  Dkt. 93 at 15. The Court correctly recognized that Curay-Cramer was resolved on “First

  Amendment grounds,” rather than statutory interpretation grounds. Id. at 14.

         The Seventh Circuit vacated the District Court’s decision in Maguire.             Maguire v.

  Marquette University, 814 F.2d 1213, 1218 (7th Cir. 1987). The Seventh Circuit declined to

  decide “whether the exemption covers the type of hiring decision involved here,” and instead

  resolved the case “on a much narrower ground.” Id. at 1216. The Court was correct to assign

  little to no weight to the District Court’s order in Maguire in its decision here. Dkt. 93 at 20-21.

         The Archdiocese criticizes the Court for not citing Mississippi College in its order. Dkt.

  95-1 at 14. But Mississippi College is also distinguishable, because the school in that case had an

  established policy of hiring Baptists, it hired the Baptist for the open position, and the charging

  party was not a Baptist. 626 F.2d at 484-485. Unlike in Mississippi College, the Archdiocese’s

  decision had nothing to do with whether or not Starkey was or is Catholic. Dkt. 1, 20. Moreover,



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  Mississippi College’s holding has been called into question even within its own Circuit. See

  Smith v. Angel Food Ministries, Inc., 611 F. Supp. 2d 1346, 1347-1351 (M.D. Ga. 2009) (stating

  that Miss. College’s “drive-by jurisdictional ruling” had “no precedential effect” and denied

  motion to dismiss on plaintiff’s religious discrimination claim).

         The Court’s opinion is consistent with the text, legislative history, and “the

  overwhelming weight of precedent” interpreting Title VII’s religious exemption. See Dkt. 93 at

  7-10. The issue that the Archdiocese seeks to appeal is not contestable, as it has not demonstrated

  substantial ground for difference in opinion.

                 B. Church Autonomy.

         The Archdiocese has no substantial conflicting authorities in support of its second

  proposed certified question concerning the scope of the church autonomy doctrine. The

  Archdiocese cites to four cases, but none of them meet the contestability standard for

  interlocutory review. Dkt. 95-1 at 17-20 (citing Bryce v. Episcopal Church in the Diocese of

  Colo., 289 F.3d 648, 660 (10th Cir. 2002); Garrick v. Moody Bible Inst., 412 F. Supp. 3d 859,

  872 (N.D. Ill. 2019); Aparicio v. Christian Union, Inc., No. 18-cv-0592, 2019 U.S. Dist. LEXIS

  55938 (S.D. N.Y. March 29, 2019); and Brazauskas v. Fort Wayne-South Bend Diocese, Inc.,

  796 N.E.2d 286, 289 (Ind. 2003)).

         As Starkey explained previously, Bryce was decided more than ten years before

  Hosanna-Tabor Evangelical Lutheran Church & Sch. v. EEOC, 565 U.S. 171 (2012), where the

  Supreme Court officially recognized the ministerial exception and clarified its scope. Dkt. 67 at

  21. The Court’s expansion of the ministerial exception to Catholic elementary school teachers in

  Our Lady of Guadalupe Sch. v. Morrissey-Berru leaves little room, if any, for continued viability

  of the church autonomy doctrine in the employment context. 140 S. Ct. 2049, 2060 (2020)



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  (“What matters, at bottom, is what an employee does”); see also Little Sisters of the Poor Saints

  Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367, 2397 n.1 (2020) (Kagan, J., joined by

  Breyer, J., concurring in judgment) (“there is no general constitutional immunity, over and above

  the ministerial exception, that can protect a religious institution from the law’s operation.”).

  Otherwise, the ministerial exception would be rendered “superfluous.” Dkt. 93 at 18.

         In Garrick, the District Court dismissed the plaintiff’s complaint without prejudice, and

  granted leave for the plaintiff to amend and re-plead her Title VII claims. 412 F. Supp. 3d at 873.

  In a subsequent order and opinion, the District Court denied in part the Motion to Dismiss the

  Plaintiff’s Amended Complaint. Garrick v. Moody Bible Inst., No. 18-C-573, 2020 U.S. Dist.

  LEXIS 188707 (N.D. Ill. Oct. 13, 2020) (“Garrick II”). The Garrick II decision demonstrates

  that religious justifications for employment decisions may be attacked based on pretext, just as

  Starkey has argued the Court should do here. See Dkt. 91 at 2-3.

         Aparicio never uses the phrases “church autonomy” or “religious autonomy.” 2019 U.S.

  Dist. LEXIS 55938 at **1-29. However, the Court concluded that, while the plaintiff was not a

  minister himself, he could not oppose the employer’s “complementarian” policy, which

  prevented women from serving as directors in the CUI’s ministry, without running afoul of the

  First Amendment. Id. at **23-24. Essentially, Aparicio prohibited a non-ministerial employee

  from bringing a Title VII retaliation claim based on a complaint of discrimination against a

  ministerial employee. Id. at *25. This is of no help to the Archdiocese here, where Starkey is

  both the person who engaged in protected activity and the victim of discrimination.

         The Archdiocese cites to Brazauskas with respect to Starkey’s state law claims, but this

  Court has already distinguished Brazauskas, which involved a plaintiff who filled a religious

  role. Dkt. 93 at 19.



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         The Archdiocese’s church autonomy defense (or at least its application of this defense to

  Starkey) also conflicts with the Seventh Circuit’s recent decision in Demkovich, which

  recognized that Title VII hostile environment claims (even where the plaintiff was a minister)

  could proceed without violating church autonomy principles. 973 F.3d at 733-734. If the

  Archdiocese does succeed in bringing an interlocutory appeal, it will have to grapple with the

  fact that it would essentially be asking the Seventh Circuit to over-rule its own decision from two

  months ago. Although the Archdiocese notes that Demkovich “may soon be reheard en banc,”

  the Seventh Circuit has not granted rehearing en banc, and may likely decide not to do so.

                 C. Freedom of Association.

         Finally, the Archdiocese’s proposed certified question on the freedom of association

  defense is not contestable because it runs directly into adverse U.S. Supreme Court precedent.

  Hishon v. King & Spalding, 467 U.S. 69, 78 (1984). In Hishon, the Court quickly dispensed with

  a law firm’s freedom of association defense to a Title VII claim brought by a female associate

  who was not invited to be a partner. Id. at 71, 78. The Court said, “as we have held in another

  context, ‘[invidious] private discrimination may be characterized as a form of exercise of

  freedom of association protected by the First Amendment, but it has never been accorded

  affirmative constitutional protections.’” Id. at 78 (citing Norwood v. Harrison, 413 U.S. 455, 470

  (1973)). This Court cited Hishon with approval in its Order on the Motion for Judgment on the

  Pleadings. Dkt. 93 at 23.

         The Archdiocese claims that Hishon was not dispositive, claiming that Hishon “analyzed

  the expressive-association defense on the merits[.]” Dkt. 95-1 at 23. This is an inaccurate reading

  of Hishon, which only briefly considered (and devoted one paragraph to) the law firm’s First

  Amendment defense. It did not engage in any thorough analysis of the elements, or describe or



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  cite to the balancing test from Roberts. Hishon, 467 U.S. at 78. Although the Archdiocese cites

  to decisions from other courts where a freedom of association defense was applied in the

  employment context, it has not identified any case where such a defense was successfully

  applied to defeat Title VII claims. See Dkt. 95-1 at 21-23.

         None of the Archdiocese’s proposed certified questions are contestable, and the Court

  should deny the motion to certify with respect to each of the questions.

                                              CONCLUSION

         For the above reasons, the Court should deny the Archdiocese’s Motion for Certification

  for Interlocutory Appeal in its entirety.

                                                       Respectfully submitted,

                                                       /s/ Kathleen A. DeLaney
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                                 CERTIFICATE OF SERVICE

          I hereby certify that on the 9th day of November, 2020, a copy of the foregoing was filed
  electronically. Notice of this filing will be sent to the following parties by operation of the
  Court’s electronic filing system. Parties may access this filing through the Court’s CM/ECF
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